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 7                           UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF ARIZONA
 9
     United States of America,                                CR 19-0338-TUC-JGZ
10
                           Plaintiff,                  GOVERNMENT’S SENTENCING
11                                                          MEMORANDUM
12          vs.

13   Marco Antonio Peralta-Vega,

14                         Defendant.
15
           Plaintiff, United States of America, by and through its attorneys undersigned,
16
     hereby Sentencing Memorandum for the defendant, Marco Antonio Peralta-Vega, in the
17
18   above-referenced case. Sentencing is currently set for June 11, 2021.

19                   MEMORANDUM OF POINTS AND AUTHORITIES

20      I. FACTS AND PROCEDURAL HISTORY

21         Between January 2017 and November 2018, the defendant, Marco Antonio Peralta-

22   Vega (hereinafter “the defendant”), owner of PH Distributing, received 53 shipments at his

23   residence/business and two separate storage facilities which he rented to receive and store

24   shipments under the PH Distributing business name. Within the 53 shipments received at
25   either the defendant’s residence/business address, his CubeSmart Self Storage facility, or
26   his Nogales Self Storage facility (all of which were located in Nogales, Arizona), were 120
27   Ballistic Body Armor plates, 2,649 high capacity rifle magazines, and a total of 37,200
28   rounds of ammunition in various calibers.
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 1          The defendant was interviewed by law enforcement agents and admitted that he was
 2   facilitating the purchase, delivery, and shipment of these items –all of which were
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     classified as International Traffic in Arms Regulations items at the time of the defendant’s
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     offenses – knowing the items were being illegally exported from the United States into
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     Mexico. The defendant had ordered the items in Mexico on behalf of different individuals,
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     and also allowed other individuals to use his address for the delivery of items. The
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     defendant then picked up the packages from his address, passed them to a separate
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     individual in Nogales, Arizona, and that individual then smuggled the items form the
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     United States into Mexico. The defendant received payment for his offenses once the items
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     were delivered in Mexico. The defendant also purchased and trafficked two Colt .38 caliber
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     handguns and one Ceska Zbrojovka 9mm handgun from the United States to Mexico.
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     Records from the firearm dealers confirm that the defendant purchased these firearms in
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     March 2016 and February 2017, respectively. Neither the defendant nor any of the other
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     individuals involved in his smuggling offenses had a license or other lawful authority to
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     export the weapons from the United States into Mexico.
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            On February 6, 2019, the defendant was charged in the Indictment in this case with
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     Smuggling Goods from the United States. On March 2, 2021, he pleaded guilty to the
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     offense and also admitted to the Forfeiture Allegation in the Indictment without a plea
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20   agreement. Sentencing is currently set before this Court for June 11, 2021.

21      II. APPLICABLE GUIDELINE CALCULATIONS

22          The government agrees with the guideline calculations in the Presentence Report.

23   The defendant’s base offense level is 26 pursuant to U.S.S.G. § 2M5.2(a)(1). After a three-

24   level reduction for acceptance of responsibility pursuant to U.S.S.G. § 3E1.1(a) and (b), the

25   defendant’s total offense level is 23. Together with the defendant’s Criminal History
26   Category of I, the advisory sentencing guideline range is 46 to 57 months imprisonment.
27   The government agrees with the Presentence Report that no grounds exist for a departure
28   or variance in this case.

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 1          III.   GOVERNMENT’S SENTENCING RECOMMENDATION
 2          The government requests that this Court sentence the defendant within the
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     applicable sentencing guideline range, to no less than 46 months imprisonment. The
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     government believes this sentence appropriately reflects the severity of the defendant’s
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     offenses and his individual characteristics.
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            The defendant’s offenses in this case are very serious. He has engaged in a course
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     of unlawful conduct involving the smuggling of firearms, ammunition, high capacity
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     magazines, and body armor to a criminal organization in Mexico over the course of at least
 9
     two years. The harm that the defendant’s offense has caused – and is likely to continue to
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     cause – is beyond measure. He repeatedly exploited his business to put weapons in the
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     hands of violent criminals for the purpose of personal financial gain. His conduct directly
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     furthers the rampant and severe violence in Mexico, and results in the threatening, injury,
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     and death of countless individuals.       As the Presentence Report so aptly states, the
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     defendant acted with no thought for anyone outside his own family. Furthermore, the
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     defendant’s produce business provided him with a legitimate source of income; his crimes
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     were motivated by financial greed as opposed to necessity.
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            What is particularly concerning here is the defendant’s continuation of his
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     smuggling activity despite previous law enforcement intervention As pointed out in the
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20   Presentence Report, he was well aware of the illegality of his actions and had several

21   opportunities to cease his criminal conduct but chose not to do so despite being aware of

22   the consequences. He was contacted both by federal agents in the United States and

23   arrested in Mexico for his smuggling activity, but these events were not enough to deter

24   him from his course of serious weapons misconduct. The government submits that a

25   lengthy sentence is therefore necessary to protect the public, both in Mexico and the United
26   States, from future crimes of the defendant.
27          The defendant was directly involved with high level members of the Sinaloa cartel
28   in Mexico. By his own admissions, his criminal conduct involving smuggling weapons on

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 1   behalf of these criminals extended significantly beyond his offense of conviction in this
 2   case. Particularly concerning is the fact that one of the defendant’s associates in this
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     conduct was murdered by other cartel members. The defendant was therefore fully aware
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     of the violence that resulted from his actions of providing the cartel with deadly weapons.
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            The defendant’s lack of prior criminal history is adequately reflected in his Criminal
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     History Category of I. However, as discussed, his unlawful conduct here was extensive
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     and repetitive. The government submits that a significant sentence is necessary to reflect
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     the severity of the offense and the danger to the public caused by the defendant’s ongoing
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     weapons smuggling crimes.
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            Finally, the government respectfully requests that this Court enter a Final Order of
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     Forfeiture against the defendant in the amount of $16,089.50, the value of the firearms and
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     ammunition involved in the defendant’s offense of conviction. As further discussed in the
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     Government’s Brief Regarding Forfeiture Issues, these firearms and ammunition are
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     subject to forfeiture and are unavailable for forfeiture due to the acts of the defendant.
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     Therefore, the government is entitled to the forfeiture of substitute assets in the amount of
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     the value of the firearms and ammunition, which is $16,089.50.
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            IV.    CONCLUSION
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            For the reasons discussed, the government respectfully requests that this Court
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20   sentence the defendant to no less than 46 months imprisonment. The government submits

21   that this sentence is appropriate and no greater than necessary based on the facts and

22   circumstances of the offenses and the individual characteristics of the defendant.

23          Respectfully submitted this 4th day of June, 2021.

24
                                                      GLENN B. McCORMICK
25                                                    Acting United States Attorney
                                                      District of Arizona
26
                                                      s/ Angela W. Woolridge
27
                                                      ANGELA W. WOOLRIDGE
28                                                    Assistant U.S. Attorney

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 1   Copy of the foregoing served
     electronically or by other means
 2   this 4th day of June, 2021, to:
 3   D. Erendira Castillo-Reina, Esq.
     Attorney for Defendant Marco Antonio Peralta-Vega
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